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UNITED STATES DISTRICT COURT cng BS PRIEST OUT ons
EASTERN DISTRICT OF ARKANSAS

MAY 27 2025
DAVE CAMPBELL, et ux, Be a Ne ae oe
PLAINTIFFS, V
Vv. Case Number: 3:25-CV-00064

BARRY JOSEPH O’DELL, et al,
DEFENDANTS.
MOTION TO CORRECT SPELLING BASED ON A SCRIVENER’S ERROR

COME NOW PLAINTIFFS, Dave and Catrenia Dawn Campbell, appearing pro se
and requesting to correct the spelling of a name based on a scrivener’s error, as follows:

1. Defendant Randall Dunn is inadvertently entered as Randall Lee Dunn and the
correct name is Randall Dale Dunn.

2. The foregoing error was unintentional, as it arose from inadvertence, rather
than legal reasoning or a judicial error.

3. The foregoing error leads to an unintended result.

BRIEF IN SUPPORT OF MOTION

According to LSD Law, the Doctrine of Scrivener’s Error allows for the correction
of minor errors, such as typos, if there’s clear and convincing evidence errors were
unintentional..

WHEREFORE, Plaintiffs pray this request is granted in the interest of justice.
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Respectfully Submitted,

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